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|| FRONTERA TELEVISION NETWORK LLP,

 

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MAXWELL C AGHA, SBN 153625
BANKER’S HILL LAW FIRM APC
160 THORN STREET, SUITE 200
SAN DIEGO, CA 92103

TEL: 619-230-0330

FAX: 619-230-1726

Attorney for Plaintiff,
JOSE AQUINO

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case No.: EDCV 12-00920 VAP (DTBx)

Se ee

GASCON; JIRAMOS S.A.de CV; and DOES

1-100 Complaint Filed: June 7, 2012

Plaintiff, MAXWELL C AGHA’S RESPONSE TO
| } DECLARATIONS OF CHRISTOPHER L.
vs. ) LUDMER, ESQ AND MICHAEL
) PANCER ESQ REGARDING FEES AND
) COSTS IN RESPONDING TO
ALEJANDRO CARRILLO GARZA SADA; )} PLAINTIFF’S FRIVOLOUS
GM GLOBAL S.A.de CV; ERWIN LINO: |?) ORCL A Lae ROA
HUGO VIGUES; ALFREDO/CARROLLO 4 RESPONSE
CONTKOWSKY; ALEJANDRO RAMIREZ )
GONZALEZ; SISA §.A.de ev, MANUEL Judge: Hon. Virginia A. Phillips
)
)

Defendants.

 

}Ludmer and Michael Pancer regarding fees and costs in responding to plaintiffs frivolous
complaint.
L.
FACTS
On or about late May or early June 2012, Plaintiff's President, sole shareholder and
Principal, JOSE AQUINO (hereinafter “AQUIN Q”) reached out to BANKER’S HILL LAW

FIRM APC regarding a complaint against the above named Defendants.

MAXWELL C AGHA’S RESPONSE TO DECLARATIONS OF CHRISTOPHER L. LUDMER, ESQ AND MICHAEL
PANCER ESQ REGARDING FEES AND COSTS IN RESPONDING TO PLAINTIFF’S FRIVOLOUS COMPLAINT;
MAXWELL C AGHA DECLARATION: POINTS AND AUTHORITIES IN SUPPORT OF RESPONSE

 

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MAXWELL C AGHA hereby submits the following response to Declarations of Christopher L. |

 

 
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On or about early June 2012, BANKER’S HILL. LAW FIRM APC made reasonable
attempts to conduct their own inquiries, investigation and requested AQUINO, to provide them
On or about June 4, 2012, AQUINO, responded with an email and attached a word
documents detailing the chain of events that took place and the need to file the lawsuit that

particular week and before the Mexican election. (EXHIBIT A ~ a copy of the email and not

the word document is attached to this Points and Authorities in order to protect any privileges

that may still be available to the parties).

On or about June 4, 2012, Plaintiff's Attorney reasonably relied on the word document
provided by AQUINO, before filing the above mentioned complaint. AQUINO provided
Plaintiff's counsel with contract executed by AQUINO and several of the Defendants.
PlaintifP's counsel was in the process of obtaining an official translated version of the contract
before there was a breakdown in relations between Plaintiff's counsel and AQUINO. It is
important to note that this contract calls for jurisdiction to be in California.

When Defendants’ Attorney Christopher L. Ludmer and Michael Pancer “pointed out to
Plaintiff's counsel the numerous and factual problems with [the] Complaint” (Declaration of
Michael Pancer, Page 2, Line 20, 4), Plaintiff's attorney attempted to resolve the issue with
AQUINO by either amending the complaint or agreeing to a stipulation to dismiss the
represented Defendants. AQUINO wanted to work on a stipulation to dismiss the represented
Defendants. (EXHIBIT B— A copy of the prepared stipulation).

Plaintiffs attorney MAXWELL C AGHA and Defendants’ Attorney Christopher L.
Ludnier and Michael Pancer worked tirelessly on a stipulation to dismiss the represented

Defendants from the Complaint. This stipulation was met with stiff and unreasonable request

iby AQUINO. Thus, the stipulation to dismiss the represented Defendants was not signed.

During Plaintiffs attorney representation of Plaintiff, Plaintiff consistently failed to

|| comply with their duties as a client and detrimentally affected the attomey-client relationship to

preclude continued representation. Plaintiff, through Mr. Aquino, has made extrajudicial

statements to the press, without the knowledge or guidance of Plaintiff's Attorney.

MAXWELL C AGHA’S RESPONSE TO DECLARATIONS OF CHRISTOPHER L. LUDMER, ESQ AND MICHAEL
PANCER ESQ REGARDING FEES AND COSTS IN RESPONDING TO PLAINTIFF’S FRIVOLOUS COMPLAINT:
MAXWELL C AGHA DECLARATION; POINTS AND AUTHORITIES IN SUPPORT OF RESPONSE

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Under CRPC 3-200, it prohibits the acceptance or continuance of representation when

there is no probable cause for advocacy and when the purpose of the advocacy is to harass or

explaining their desire to withdraw based upon Plaintiffs failure to act in concurrence with
Plaintiff's attomey judgment, advice, and counsel etc.

AQUINO made threats to Plaintiff's attorney MAXWELL C AGHA and it is apparent
these threats violate the California Penal Code. (EXHIBIT C — threats by AQUINO).
Plaintiff's attorney believes that AQUINO has violated the Attorney-Client privilege and
provisions of the Retainer Agreement between the parties, by speaking with outside sources,
including the Mexican media, regarding the underlying legai matter.

Plaintiff's attorney provided AQUINO with more than adequate time to find
replacement counsel before the September 17, 2012 motion to dismiss hearing date.

IL
ARGUMENT
A. THE RULE 11 SANCTIONS SHOULD NOT BE IMPOSED ON PLAINTIFE’S

ATTORNEY, MAXWELL C AGHA

Sanctions may be imposed on a party alone, rather than on the lawyer, where "a party
misleads an attorney as to facts or the purpose of a lawsuit, but the attorney nevertheless had an
objectively reasonable basis to sign the papers in question." Calloway v. Marvel Enterprises Group,
854 F.2d at 1475.

By its express terms, Rule 11 addresses what the attorney knew and believed, or would

have learned through reasonable inquiry, at the time in question. The only relevant inquiry is

'| counsel’s knowledge and conduct at the time. See In re Western Die Casting Co., 106 B.R.

645, 648 (Bankr. N.D. Cal 1989). The Court must recognize that the Responding Attorneys
cannot fully describe the inquiry they made without violating any attorney-client privileges
available to the plaintiff. The underlying facts and accompanying Declaration of MAXWELL
C AGHA further show that the Responding atiomeys conducted reasonable inquiries by making
a request for information regarding the case from AQUINO. AQUINO provided facts and

MAXWELL C AGHA’S RESPONSE TO DECLARATIONS OF CHRISTOPHER L. LUDMER, ESQ AND MICHAEL
PANCER ESQ REGARDING FEES AND COSTS IN RESPONDING TO PLAINTIFE’S FRIVOLOUS COMPLAINT:
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maliciously injure another person. Plaintiff's attorney has sent multiple letters to Plaintiff;

 
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timeline regarding meetings and discussions with the Defendants. AQUINO provided contracts

executed between AQUINO and several of the Defendants in the underlying lawsuit. AQUINO

provided names of bank accounts where the alleged campaign funds were allegedly deposited
pursuant to his contracts.

However, when Defendants’ Attorney Christopher L Ludmer and Michael Pancer
“pointed out to Plaintiff's counsel the numerous and factual problems with [the] Complaint”
(Declaration of Michael Pancer, Page 2, Line 20, 94), Plaintiff's attorney, through plaintiff's
request made reasonable attempts to resolve the issues. Such attempts were met with threats

and unreasonable requests by AQUINO.

THE.
CONCLUSION
Plaintiff's attorney, MAXWELL C AGHA recognizes and has always recognized his
duties of candor and truthfulness. The accompanying Declaration of MAXWELL C AGHA
show that he acted honestly, in good faith and reasonably relied on the representation made by

AQUINO.

 

Plaintiff's attorney, MAXWELL C AGHA respectfully requests that the Rule 11
sanctions should not be impose on him.
Respectfully Submitted:
BANKER’S HILL LAW FIRM APC
Dated: F/aysaajia By:
Attorney for Plaintiff, JOSE AQUINO
/ff
fds
Mf

MAXWELL C AGHA’S RESPONSE TO DECLARATIONS OF CHRISTOPHER L. LUDMER, ESQ AND MICHAEL
PANCER ESQ REGARDING FEES AND COSTS IN RESPONDING TO PLAINTIFF’S FRIVOLOUS COMPLAINT:
MAXWELL C AGHA DECLARATION; POINTS AND AUTHORITIES IN SUPPORT OF RESPONSE

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|provided business cards of several of the Defendants in this underlying lawsuit. AQUINO 1

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I, MAXWELL C AGHA, declare as follows:

_ 1. The statements set forth below are of my own personal knowledge and if called as a

. Tam an attorney at law, duly licensed to practice before all of the courts of the State

. Throughout my representation of Plaintiff, I have exercised due diligence and

. Further, on or about June 4, 2012, AQUINO, responded with an email and attached a

DECLARATION

witness, [ could and would competently testify to the truth of the statements

contained herein.

of California, and am senior partner in the law firm of Banker’s Hill Law Firm,
A.P.C., attorneys of record for Plaintiff, FRONTERA TELEVISION NETWORK,
LLP., herein. J am the attorney responsible for the prosecution of this litigation and
am knowledgeable about the files and records herein. I am responsible for certain

administrative functions in this firm and I am knowledgeable regarding the |

statements set out in this case.

performed to the best of my ability. As Attorney Christopher L Ludmer and
Attorney Michael Pancer indicated in their declaration, there were multiple
conversations between our offices before and after Defendants filed their Motion to
Dismiss.

On or about early June 2012, BANKER’S HILL LAW FIRM APC made reasonable
attempts to conduct their own investigation and requested AQUINO, to provide them

with more additional background information regarding the above mentioned matter.

word documents detailing the chain of events that took place and the need to file the
lawsuit that particular week and before the Mexican election. (EXHIBIT A —a copy
of the email and not the word document is attached to this Points and Authorities in
order to protect any privileges that may still be available to the parties). In response
to our inquiries, AQUINO provided contracts executed by several of the Defendants
in this underlying lawsuit, remails between him and several of the Defendants in this

underlying lawsuit, business cards of several of the Defendants in this underlying

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MAXWELL C AGHA’S RESPONSE TO DECLARATIONS OF CHRISTOPHER L. LUDMER, ESQ AND MICHAEL
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lawsuit and bank information regarding where the alleged campaign funds were

deposited.

_On or about June 4, 2012, Plaintiff's Attorney reasonably relied on the facts.and}

documents provided by AQUINO, before filing the above mentioned complaint.
However, when three of the represented Defendants through counsel approached me
with issues regarding numerous and factual problems with the complaint, I attempted
to resolve the issue regarding the numerous and factual problems with the Complaint
with AQUINO. I stated to AQUINO that he can either amend the complaint or agree
to a stipulation to dismiss the represented Defendants. AQUINO was unable to
provide me with the necessary information to amend the complaint and instead
wanted to work on a stipulation to dismiss the represented Defendants.

Defendants’ Attorney Christopher L. Ludmer and Michael Pancer and I worked
tirelessly on a stipulation to dismiss the represented Defendants from the Complaint.
This stipulation was met with stiff and unreasonable request by AQUINO. Thus, the
stipulation to dismiss the represented Defendants was not signed.

AQUINO refusal to act in concurrence with my judgment, advice, and counsel has
detrimentally affected the attorney-client relationship so as to preclude my ability to
adequately represent Plaintiff.

During the course of representation, Plaintiff has performed numerous actions in
contrary with my legal advice, judgment, and guidance. After the complaint was
filed, Plaintiff made several extrajudicial statements to the press without my
knowledge or guidance.

Under CRPC 3-200, it prohibits the acceptance or continuance of representation
when there is no probable cause for advocacy and when the purpose of the advocacy
is to harass or maliciously injure another person.

As the court is aware, I attempted to have Plaintiff agree to file a substitution of

attorney or in the alternative to stipulate to grant me leave to withdraw as counsel.

MAXWELL C AGHA’S RESPONSE TO DECLARATIONS OF CHRISTOPHER L. LUDMER, ESQ AND MICHAEL
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Plaintiff had informed me that they already had alternative counsel prepared to take
this case. Unfortunately, this was merely a threat and false statements by AQUINO.

information to enable the complaint to be amended and during the course of my
representation. I firmly believe that AQUINO has violated California Penal Code
and Business & Profession Codes by using a lawyer’s services, my legal services, to
commit fraud and misrepresentation

14. Prior to receiving Defendants Rule 11 motion, I requested that AQUINO finds new
counsel to take over this underlying lawsuit.

15. | respectfully request that the Rule 11 sanctions should not be impose on me.

I declare under penalty of perjury that the foregoing statements are true and correct to the best

of my knowledge and information under the laws of the State of California.

Executed this 24" day of September, 2012, in San Diego, California.

Dated: Ff 2 ) 2032

 

Declarant

MAXWELL C AGHA’S RESPONSE TO DECLARATIONS OF CHRISTOPHER L. LUDMER, ESQ AND MICHAEL
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__413.1 was misled by AQUINO in_that he failed to_ provide me with the necessary |

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